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                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    Deborah Wilson,

          Plaintiff,
                                                     No. 22 CV 6020
    v.
                                                     Judge Lindsay C. Jenkins
    Village of University Park, et al.,

          Defendants.

                               MEMORANDUM OPINION AND ORDER

            Plaintiff Deborah Wilson brings this lawsuit against the Village of University

Park; the Village Manager, Ernestine Beck-Fulgham; and the Mayor, Joseph E.

Roudez, III. Following her termination as the University Park Police Chief, Wilson

brought a variety of claims under Title VII, the Fourteenth Amendment, and various

Illinois statutes. [Dkt. 20.] 1 Defendants moved for summary judgment as to all twelve

counts in Wilson’s operative complaint. [Dkt. 58.] Wilson seeks summary judgment

on two Due Process Claims. [Dkt. 60.] For the reasons explained, the Court denies

Wilson’s motion and grants in part and denies in part Defendants’ motion.

I.          Local Rule 56.1

            The Court first discusses Local Rule 56.1, which bears on the facts properly

before the Court. Along with their summary judgment briefs, the parties filed

statements of material facts as required by Local Rule 56.1. [Dkts. 73, 81, 87.] The

statements serve a valuable purpose: they help the Court in “organizing the evidence




1    Citations to docket filings generally refer to the electronic pagination provided by
CM/ECF, which may not be consistent with page numbers in the underlying documents.
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and identifying disputed facts.” Fed. Trade Comm’n v. Bay Area Bus. Council, Inc.,

423 F.3d 627, 633 (7th Cir. 2005). A party that fails to comply with Local Rule 56.1

does so at their own peril. Petty v. City of Chi., 754 F.3d 416, 420 (7th Cir. 2014). Each

statement of fact must be concise. L.R. 56.1(d)(1). “To dispute an asserted fact, a party

must cite specific evidentiary material that controverts the fact and must concisely

explain how the cited material controverts the asserted fact. Asserted facts may be

deemed admitted if not controverted with specific citations to evidentiary material.”

L.R. 56.1(e)(3).

       A party responding to an adversary’s statement of facts may make objections

based on admissibility, with the argument for the propriety of the objection in its

brief. L.R. 56.1(e)(2) (“If a party contends that its opponent has included objectionable

or immaterial evidence or argument in a LR 56.1 submission, the party’s argument

that the offending material should not be considered should be included in its

response or reply brief.”) If the Court overrules the objection and the party does not

otherwise dispute the fact, however, the fact is deemed admitted. Id. “To be

considered on summary judgment, evidence must be admissible at trial, though the

form produced at summary judgment need not be admissible.” Aguilar v. Gaston-

Camara, 861 F.3d 626, 631 (7th Cir. 2017) (cleaned up). The Court may require strict

compliance with Local Rule 56.1. Johnson v. Edward Orton, Jr. Ceramic Found., 71

F.4th 601, 611 n.13 (7th Cir. 2023).

       Wilson flouted several aspects of this rule with her filings. For example, her

Local Rule 56.1(a) statement references eight exhibits, but six of them were not



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attached to the statement, which Defendants observe in their Rule 56.1(b)(3)

responses. [Dkt. 61, 73.] Her statement of additional facts also cites to material she

did not include in the record. [See, e.g., Dkt. 87, ¶ 34, referencing “Exhibit O” which

was not included at dkt. 77.] Her responses to many of Defendants’ asserted facts fall

far short of actually disputing the asserted fact. L.R. 56.1(e)(3). For example, in her

response to Defendants’ asserted fact at paragraph 28, Wilson responds by citing to

her affidavit, but she does not identify where the evidence that shows the dispute can

be found. [Dkt. 81, ¶ 29, citing “Wilson Affidavit ¶ ”.]

      The Seventh Circuit “has repeatedly recognized that district courts may

require exact compliance with their local rules,” including the “local rules governing

summary judgment.” Allen-Noll v. Madison Area Tech. Coll., 969 F.3d 343, 349 (7th

Cir. 2020) (collecting cases). Consistent with the purpose of Local Rule 56.1, however,

the Court has “broad discretion” to relax or enforce strictly local rules governing

summary judgment practice. Edgewood Manor Apt. Homes, LLC v. RSUI Indem. Co.,

733 F.3d 761, 770 (7th Cir. 2013); see also Cracco v. Vitran Express Inc., 559 F.3d 625,

632 (7th Cir. 2019).

      Despite these issues, and because the Court prefers to decide cases on the

merits, not on technicalities, the Court will not disregard Wilson’s Statement of Facts

or Statement of Additional Facts entirely. Where plagued by these types of issues,

the Court disregards Wilson’s factual assertion, and where appropriate, treats

Defendants’ assertion as undisputed.




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II.      Background

         The Court draws on the parties’ Local Rule 56.1 statements to recount the

facts, which are undisputed unless otherwise noted. The Court presents the facts in

the light most favorable to Wilson as the non-moving party. Emad v. Dodge Cty., 71

F.4th 649, 650 (7th Cir. 2023).

         For pension purposes, Wilson started with the Village of University Park police

department as a police officer in January 1999; she was appointed Chief in March

2020. [Dkt. 81 at ¶ 6.] Wilson and the Village did not have a formal contract outlining

her service as Chief. [Id. at ¶ 7; Dkt. 87 at ¶ 4.] The Village owns the University Park

Golf and Conference Center (Golf Club), but contracts with a management company

to run it. [Dkt. 81 at ¶ 12.] Sonia Coffee was the Golf Club’s manager. [Id.]

         Kitching Incident: In October or November 2021, Wilson witnessed Village

Manager Ernestine Beck-Fulgham smack the bottom of a Village employee named

Keisha Kitching. [Id. at ¶ 8.] Kitching brought charges with the EEOC and IDHR,

but Wilson did not testify at any proceedings or provide an affidavit. [Id. at ¶ 9.]

Wilson never told anyone she would testify on Kitching’s behalf, and Wilson was

never informed by anyone that she had been identified as a witness for Kitching in

connection with those proceedings. [Id.] Following the Kitching incident, Beck-

Fulgham and Wilson spoke by telephone, but the parties dispute what was said

during the call, whether Beck-Fulgham told Wilson not to testify about the incident,

or whether Beck-Fulgham implied that Wilson had not seen the smack. [Id. at ¶ 10.]

It is undisputed that Wilson separately told two University Park residents that she

saw Beck-Fulgham smack Kitching. [Id. at ¶ 11.]
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      Tire-Changer Incident: On November 4, 2021, Wilson received a call from the

Village director of public works, Darrell Byther, asking Wilson to come to the Golf

Club regarding a dispute Byther was having with another employee, Blake Putnam.

[Id. at ¶¶ 15, 17.] When Wilson arrived, she learned that Byther wanted to use a tire-

changer machine he believed was in the Golf Club garage, but Putnam would not let

Byther access the garage. [Id.] When Byther and Wilson would not leave, Putnam

called his manager—Sonia Coffee—and placed Coffee on speakerphone. [Id. at ¶ 17.]

Coffee told Wilson and Byther that they were trespassing and to leave the building.

[Id.] Coffee called 9-1-1 and requested the Will County Sheriff to come to the scene.

Wilson believed Coffee’s call to authorities was illegal because “Wilson was a police

officer and already on scene.” [Id. at ¶ 18.]

      It is not disputed that Wilson did not know whether the tire changer was in

the garage, but she returned to the police station to retrieve a crowbar. She then

attempted, unsuccessfully, to use it to open the garage. Another public works

employee later gained access to the garage. There was no tire changer machine inside.

[Id. at ¶¶ 19–21.]

      Following these events, Wilson prepared a case report for the incident to

provide to Village Manager Beck-Fulgham. The report listed “disorderly conduct” as

the subject of the offense, and listed Coffee’s name as the suspect. [Id. at ¶ 22; Dkt.

59-7.] Wilson had Coffee’s name, but she could not find her birth date or license plate

number. [Dkt. 81 at ¶¶ 22–24.] Wilson could not “close out” the report without




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Coffee’s birthdate, so she attempted to obtain this information by trying to find Coffee

at the Golf Club and by calling Coffee, among other ways. [Id. at ¶ 25.]

       A few weeks later on November 29, 2021, Wilson received a phone call from

Charles Krugel, a lawyer who advised that he represented Coffee, and that Wilson

could not ask Coffee any questions without him present. [Id. at ¶ 26.] Krugel also sent

an email to Wilson, Mayor Roudez and Beck-Fulgham relaying the same information.

[Id.; Dkt. 59-8.] 2

       Wilson Speaks with Law Enforcement: Wilson “believed something unlawful

was happening at the Golf Club,” based on items Wilson believed might have been

missing from the Golf Club garage. She also suspected that Mayor Roudez and Beck-

Fulgham were “cutting checks without [the Board’s] permission,” and that Mayor

Roudez showed favorable treatment toward Coffee. [Dkt. 81 at ¶ 28.] Defendants

dispute these assertions, but there is no dispute that Wilson spoke to the Will County

State’s Attorney’s Office and the FBI in late October, November and/or December

2021 regarding “what she perceived to be illegalities with the Village administration.”

[Dkt. 73 at ¶ 31; Dkt. 87 at ¶ 16.] Wilson provided the State’s Attorney’s Office and/or

the FBI with Board meeting packets, board meeting videos and the management

agreement for the Golf Club. [Dkt. 81 at ¶ 30.] The parties dispute who was aware of


2       Wilson objects to the Court’s consideration of Krugel’s email because the email is not
properly authenticated, and she objects to the contents of Krugel’s verbal statements about
his client on hearsay grounds. Those objections are overruled. “To be considered on summary
judgment, evidence must be admissible at trial, though the form produced at summary
judgment need not be admissible.” Aguilar v. Gaston-Camara, 861 F.3d 626, 631 (7th Cir.
2017). Krugel’s oral and written statements about his representation of Coffee are not offered
for their truth, but rather for the alleged impact or effect on those who received this
information. See United States v. Cruse, 805 F.3d 795, 810 (7th Cir. 2015).
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Wilson’s conversations with any of these entities. [Id. at ¶ 29; Dkt. 73 at ¶¶ 32, 33.]

Wilson says that the FBI told her to get more identifying information about Coffee.

[Dkt. 81 at ¶ 30.]

       Confrontation with Coffee: On December 16, 2021, Wilson saw Coffee’s car

parked outside of the Golf Club. [Dkt. 81 at ¶ 31.] Wilson testified that she went to

the Golf Club to try to “identify” Coffee and to follow-up on “the stolen property case.”

[Id., Dkt. 59-1 at 49.] Wilson approached Coffee outside Coffee’s office and told Coffee

she had come to identify her and “finalize everything.” [Dkt. 81 at ¶ 32; Dkt. 59-1 at

40.] Wilson “believed she had probable cause to arrest Coffee for making a false police

911 call” during the November 4 tire changer incident. [Dkt. 81 at ¶ 32.] Coffee told

Wilson she would not speak without her attorney present, and turned to walk toward

her office. [Id. at ¶ 33.]

       A physical confrontation ensued between Wilson, Coffee, and a third employee,

DeVaughn Mathus, that was captured by video surveillance cameras positioned

inside the Golf Club. [Dkt. 63.] Despite the quality of the videos, the parties dispute

what occurred, but the details are not material. With the assistance of other officers

who arrived to assist, Mathus and Coffee were arrested, handcuffed, and charged

with aggravated battery. They were later found not guilty of this offense. [Dkt. 81 at

¶¶ 37–38; Dkt. 59-14.]

       Wilson’s Administrative Leave and Termination: That same day, Wilson met

with Mayor Roudez and Beck-Fulgham and was placed on paid administrative leave.

[Dkt. 81 at ¶ 39.] The Village Attorney initiated an investigation into Wilson’s



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conduct to determine “if her actions violated any rule, regulation or policy of the

Village, as well as determine if her actions violated any law or constitutional right”

from November 4 until December 16, 2021 “just prior to the arrest of Ms. Coffee and

Mr. Mathus.” [Dkt. 67.] The investigation included a review of 115 videos generated

between November 4 and December 16, witness statements from Mathus, Putnam

and others, police reports, and an interview of Wilson herself on January 27, 2022,

pursuant to the Uniform Peace Officers’ Disciplinary Act, 50 ILCS 725/1. [Id.]3

       While the investigation was pending, Wilson filed a complaint with the EEOC

on February 17, 2022. [Dkt. 81 at ¶ 42.] The charge alleged retaliation, sex

discrimination, and “workplace violence.” [Dkt. 77-12.] Wilson’s narrative stated that

she had been “subject to different terms and conditions of employment in retaliation

for being a witness to [Kitching’s] sexual harassment claim and EEOC charge,”

“investigating potentially improper Village conduct,” and “arresting and pressing

charges against [Coffee and Mathus].” [Id.] The filing referenced Beck-Fulgham

“confronting” Wilson about the Kitching incident and that Coffee “battered and

assaulted” Wilson on December 16. Wilson stated she had been placed on

administrative leave and that an investigation had been “launched” into her conduct.




3     At her deposition, Wilson testified that she spoke about “going to the State’s
Attorney’s Office and the FBI Office” during the January 27, 2022 “interrogation,” but no
reasonable juror could conclude that this was true. [Dkt. 59-1 at 70.] As Defendants point
out, Wilson’s interview was transcribed, and it contains no testimony about speaking with
the FBI or the State’s Attorney. [Dkt. 73-6.] This evaporates any factual dispute that would
otherwise exist. Kailin v. Vill. of Gurnee, 77 F.4th 476, 481 (7th Cir. 2023).
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       A report of the results of the Village’s internal investigation was issued on

March 3, 2022. 4 It concluded that Wilson violated various University Park Police

Department policies including Policies 1.001 and 1.002 concerning written directives

and procedures and department goals and objectives; Policy 2.001 concerning ethics;

Policy 2.00VI and X concerning on and off duty conduct; and finally a violation of

Personnel Manual Group III for deliberately misusing, destroying or damaging

Village property. [Id. at ¶ 41; Dkt. 67 at 15–19.]

       On March 22, 2022, the Board of Trustees held an executive session regarding

the future of Wilson’s employment. Beck-Fulgham recommended that Wilson receive

the option to retire or be terminated. [Dkt. 81 at ¶ 43.] It is disputed whether the

Board “reached the proper consensus” for this decision. In a letter dated April 1, 2022,

Beck-Fulgham notified Wilson that the Village would accept her retirement if she

provided written notice of retirement by a date certain. [Id. at ¶ 44; Dkt. 68.] Wilson

did not submit notice in the time allotted, so she was terminated on April 5, 2022.

[Dkt. 81 at ¶ 44.]

       Wilson did not receive a hearing with the Board of Trustees either before or

after her termination. [Dkt. 87 at ¶ 30.] The Board did not hold a formal vote




4      Wilson disputes the admissibility of the report of investigation on hearsay grounds,
arguing that it does not fall within the business records exception of FRE 803(6). Setting
aside whether the investigation report was made in the normal course of business as required
by the exception, most of the report does not contain inadmissible hearsay. The portions of
the report that rely on statements from Wilson are admissions of a party opponent under
Rule 801(2). The videos contain no audio so these recordings do not implicate hearsay. As to
those sections of the report that summarize information learned from interviews of Chellios,
Putnam and Mathus, no hearsay exception appears to apply, so the Court will not rely on
that information to decide the motions.
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regarding Wilson’s termination, and her termination was not referred to the Board of

Fire and Chief Commissioners for a decision. [Id. at ¶¶ 35, 37.] Wilson received a

“payout” after her termination, but the parties dispute whether she received the

appropriate amount. [Dkt. 81 at ¶ 46–47.]

III.   Legal Standard

       Summary judgment is proper where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 323,

(1986). A genuine issue of material fact exists if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986); see also Birch|Rea Partners, Inc. v. Regent

Bank, 27 F.4th 1245, 1249 (7th Cir. 2022). When reviewing cross-motions for

summary judgment, all facts and reasonable inferences are construed in favor of the

party “against whom the motion under review was made.” Frazier-Hill v. Chicago

Transit Auth., 75 F.4th 797, 801 (7th Cir. 2023). A genuine issue of material fact

exists if “the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); see also

Birch|Rea Partners, 27 F.4th at 1249. The Court “may not make credibility

determinations, weigh the evidence, or decide which inferences to draw from the

facts; these are jobs for a factfinder.” Johnson v. Rimmer, 936 F.3d 695, 705 (7th Cir.

2019) (internal quotation omitted). But defeating summary judgment requires

evidence, not mere speculation. See Weaver v. Champion Petfoods USA Inc., 3 F.4th

927, 934 (7th Cir. 2021
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IV.     Analysis

        Wilson’s First Amended Complaint [Dkt. 20] brings retaliation claims under

Title VII (Count I), the IHRA (Count II), and the Fourteenth Amendment (Count

VII). 5 She also brings Fourteenth Amendment due process claims arguing she had a

protected property interest in her position as police chief (Count III) and in her

position as a police officer (Count IV). Her remaining claims are for a writ of

mandamus (Count V); a Monell violation (Count VIII); an Illinois Whistleblower

Protection Act claim (Count IX); replevin under Illinois law (Count X); an Illinois

Wage Payment and Collection Act claim (Count XI); and an indemnification claim

(Count XII).

        A.     Retaliation Claims

        “To survive summary judgment on a Title VII retaliation claim, a plaintiff must

produce evidence from which a reasonable juror could find that: (1) she engaged in a

statutorily protected activity; (2) she suffered an adverse employment action; and (3)

there is a causal link between the two.” Alley v. Penguin Random House, 62 F.4th

358, 361 (7th Cir. 2023) (citing Abrego v. Wilkie, 907 F.3d 1004, 1014 (7th Cir. 2018)).



5      Count VII is duplicative of Counts I and II. All three claims are based on the same set
of facts and to the extent that Plaintiff intended to bring a standalone Fourteenth
Amendment Claim through Count VII, this does not appear to be a recognized cause of action
in the Seventh Circuit. Robertson v. Dep’t of Health Servs., 949 F.3d 371, 374 n.2 (7th Cir.
2020) (“an equal protection claim, if based on the same allegations underlying [plaintiff’s]
Title VII claim, would not be tenable here. The right to be free from retaliation may be
vindicated under the First Amendment or Title VII, but not the equal protection clause.’”)
(quoting Boyd v. Ill. State Police, 384 F.3d 888, 898 (7th Cir. 2004)) (cleaned up). Wilson does
not engage with this argument in her response brief. Because the Fourteenth Amendment is
not the proper vehicle for a standalone retaliation claim based on the facts presented here,
and because the merits of these claims are addressed in the Court’s analysis of Counts I and
II, summary judgment is granted for Defendants as to Count VII.
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When analyzing IHRA claims, “Illinois courts apply the federal Title VII framework.”

Volling v. Kurtz Paramedic Servs., Inc., 840 F.3d 378, 383 (7th Cir. 2016).

      Although her complaint suggests several acts of retaliation, Wilson’s

opposition brief focuses on only one protected activity: her February 2022 EEOC

charge. [Dkt. 82 at 5.] Wilson claims to have “sent a copy of her EEOC charge to the

then Village Attorney right after it was filed,” but there is no evidence in the record

to support this statement. [Dkt. 77; Dkt. 87 at ¶ 34.] Regardless, for summary

judgment purposes, the first two elements are satisfied—Wilson’s EEOC charge was

protected and her termination was an adverse action.

      Turning to causation, Title VII requires evidence of “but-for” causation. Univ.

of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013). To show but-for causation,

Wilson must establish that her termination “would not have occurred in the absence

of” her protected activity. Robinson v. Perales, 894 F.3d 818, 830 (7th Cir. 2018)

(quotations omitted). Relevant evidence may include “suspicious timing, ambiguous

statements of animus, evidence other employees were treated differently, or evidence

the employer’s proffered reason for the adverse action was pretextual.” Rozumalski

v. W.F. Baird & Assocs., Ltd., 937 F.3d 919, 924 (7th Cir. 2019) (quotations omitted).

Under the framework established in Ortiz v. Werner Enterprises, Inc., 834 F.3d 760,

765–66 (7th Cir. 2016), the Court considers the evidence as a whole.

      Wilson relies on suspicious timing, which—standing alone—creates an

inference of causation when “an adverse employment action follows close on the heels

of protected expression.” See Adebiyi v. S. Suburban Coll., 98 F.4th 886, 892 (7th Cir.



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2024) (quoting Kingman v. Frederickson, 40 F.4th 597, 603 (7th Cir. 2022)).; see also

Kidwell v. Eisenhauer, 679 F.3d 957, 969 (7th Cir. 2012) (explaining that in the

Seventh Circuit, for an inference of causation to be drawn solely on the basis of a

suspicious-timing argument, “we typically allow no more than a few days to elapse.”)

Wilson argues that the close proximity between her EEOC complaint and her

termination supports an inference of causation when viewed in light of the internal

investigation, the timing of which Wilson says is “highly suspicious.” [Dkt. 82 at 6-7.]

The Court cannot agree.

      As noted, for an inference of causation to be drawn based solely on timing,

courts “typically allow no more than a few days to elapse between the protected

activity and the adverse action.” Kidwell, 679 F.3d at 966. Here, six weeks had passed

between the EEOC complaint filed on February 17, 2022, and Wilson’s termination

in early April 2022. This timing alone would not support an inference of causation.

Kingman, 40 F.4th at 603 (retaliation claim properly dismissed at summary

judgment where three months separated a plaintiff’s critical statement and his

termination); Sweet v. Town of Bargersville, 18 F.4th 273, 279 (7th Cir. 2022) (“[E]ven

if November rather than January is the relevant point in time, we’re left with a three

month gap—still too long to support an inference of retaliatory motive.”); Milligan v.

Bd. of Trs. of S. Illinois Univ., 686 F.3d 378, 390 (7th Cir. 2012) (finding a two-month

gap insufficient); Shreffler v. City of Kankakee, 2024 WL 1826976, at *9 (7th Cir.

2024) (same).




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      Additional evidence could strengthen a causal connection based on suspicious

timing, but Wilson provides none. When “there are reasonable, non-suspicious

explanations for the timing of the defendant’s conduct, proximity in time is not

enough to support a retaliation claim.” Alley, 62 F.4th at 362 (cleaned up). Here,

Wilson had already been placed on administrative leave for the events of December

2021 by the time she filed her EEOC complaint, meaning that the Village already

began its investigation into potential misconduct in December 2021 well before her

protected act in February 2022. The report of investigation, issued on March 3, 2022,

concluded that Wilson violated four Village policies based on the events of November

4 and December 16. [Dkt. 67.] The Board of Trustees held an executive session on

March 22, and Wilson was notified of the option to retire or be terminated on April 1;

her termination followed a few days later. [Dkt. 81 at ¶ 43.] Viewed in context, no

reasonable factfinder could draw a suspicious inference about the timing of Wilson’s

termination. Alley, 62 F.4th at 362 (summary judgment appropriate where employer

provided a “perfectly reasonable explanation for the timing of Alley’s demotion”: it

learned of her failure to comply with a reporting obligation and then took the adverse

action despite her attempted efforts at a protected activity.) Stated differently, Wilson

has not provided any supporting evidence that would allow a jury to assign

significance to her EEOC filing, leaving nothing to bridge the gap between that filing

and her termination. Adebiyi, 98 F.4th at 893.

      Wilson also argues that the investigation itself was pretextual, but this is

unavailing. “When evaluating a plaintiff’s evidence of pretext, it is not the court’s



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concern that an employer may be wrong about its employee’s performance, or be too

hard on its employee. Rather, the only question is whether the employer’s proffered

reason was a lie.” Adebiyi, 98 F.4th at 893 (citing Parker v. Brooks Life Sci., Inc., 39

F.4th 931, 937–38 (7th Cir. 2022)) (cleaned up); Galvan v. Indiana, 117 F.4th 935,

939 (7th Cir. 2024) (“The focus is not on the wisdom of the decision, but on its

genuineness.”)

      As already discussed, the evidence the Village points to as a non-retaliatory

reason for termination were Wilson’s “involvement in a series of events that occurred

at [the Golf Club] on November 4, 2021 and December 16, 2021,” as articulated in

Wilson’s termination letter. [Dkt. 86 at 4; Dkt. 68.] The letter explained that the

Village Attorney investigated Wilson’s involvement in the tire changer incident

including her attempt to open the Golf Club garage with a crowbar on November 4,

and her efforts to speak with Coffee in a law enforcement capacity knowing that

Coffee was represented by counsel. [Dkt. 68.] The letter detailed that the

investigation concluded Wilson had violated various Village policies, including

through her attempts to speak with Coffee, and that those results had been shared

with Beck-Fulgham and the Board of Trustees. [Dkt. 67 at 17; Dkt. 68.]

      To show that this explanation was a lie, Wilson points to what she describes

as “inconsistencies creating genuine issues of material fact,” including the Village’s

failure to discipline “the employee who accessed the Golf Course garage,” which

Wilson argues “cast[s] doubt on the legitimacy of Wilson’s alleged ‘forced entry’ as a

justification for her firing.” [Dkt. 82 at 8–9.] And she says that Chellios, the interim



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Village Manager, gave Wilson “the discretion to handle the Golf Course matter,” a

fact not accounted for during the investigation. [Id.]

      Wilson cites to no evidence in the record to support the assertion that the

employee who accessed the Golf Course garage was never disciplined. [Dkt. 86 at 5.]

Even assuming there were inconsistencies in the investigation and that the Village

was mistaken about Wilson’s misconduct, this alone would not show pretext. Her

argument that the investigation was inadequate because it relied on incomplete or

even inaccurate information is not enough to survive summary judgment because she

has not pointed to evidence that calls into question the sincerity of the Village’s

rationale. Pretext requires Wilson to show insincerity, not mistake. Tanner v. Board

of Trustees of Univ. of Illinois, 2024 WL 4601046 (7th Cir. 2024). (“even if we assume

that Tanner is correct and that the Ethics Office was lied to by some of the people it

interviewed, she needs to show insincerity, not mistake.”); Tyburski v. City of

Chicago, 964 F.3d 590, 598 (7th Cir. 2020) (“To show pretext, a plaintiff must do more

than simply allege that an employer’s stated reasons are inaccurate; [she] must still

have some circumstances to support an inference that there was an improper

motivation proscribed by law.”) (cleaned up).

      In a single paragraph of her brief, Wilson also references shifting explanations

from standard practices as evidence of pretext. “If an employer’s explanation for the

challenged employment decision has been ‘shifting or inconsistent’ this may be

evidence of pretext.” Parker v. Brooks Life Sci. Inc., 39 F.4th 931, 938 (7th Cir. 2022)

(quoting Appelbaum v. Milwaukee Metro. Sewerage Dist., 340 F.3d 573, 579 (7th Cir.



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2003)). But here, Wilson has not identified the supposed inconsistency. She merely

cites to Beck-Fulgham’s deposition testimony concerning the reasons for Wilson’s

termination, arguing that Beck-Fulgham “could not definitively state how Wilson

violated any policies, instead relying on vague statements about Wilson’s ‘personal

motives’ without offering concrete evidence.” [Dkt. 82 at 10; Dkt. 87 at ¶ 29.] Nor has

Wilson explained how any shifting explanation would permit an inference of pretext.

If Beck-Fulgham’s deposition testimony contains an inconsistency that allows for

such an inference, Wilson has not identified it and the Court declines to hunt for it.

      Lastly, Wilson briefly argues that the Village “ignored its ‘progressive

discipline’ policy and terminated Wilson for her first offense,” which was a deviation

from an established policy. [Dkt. 82 at 10.] Like her shifting explanations argument,

Wilson has not meaningfully developed this point or cited to any evidence in the

record that supports her claim of a deviation from the discipline policy. To be sure,

Wilson does not even say what the Village’s progressive discipline policy is in relation

to terminations, so she has not established any difference in how she was treated as

compared to others. Without evidence about the Village’s termination procedures,

Wilson can only speculate about deviations, which is insufficient to create a factual

dispute at summary judgment.

      Although Wilson maintains that the investigation into her conduct should have

reached a different result and that the timing of that investigation together with her

EEOC filings and eventual termination is sufficient to establish causation, no

reasonable juror could find that her termination was due to her engagement in a



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protected activity and “would not have occurred” in its absence, even when viewed as

a whole. Ortiz, 834 F.3d at 765. Thus, her retaliation claims fails.

      B.     First Amendment Retaliation Claim

      Count VI raises a First Amendment retaliation claim. The elements for

unlawful First Amendment retaliation are the same, that (1) she engaged in

constitutionally protected speech; (2) she suffered a deprivation likely to deter her

from exercising her First Amendment rights; and (3) there was a causal link. Int’l

Ass’n of Fire Fighters, Local 365 v. City of East Chicago, 56 F.4th 437, 446 (7th Cir.

2022) (citing Cage v. Harper, 42 F.4th 734, 741 (7th Cir. 2022)). The burden for

causation is lower for a First Amendment retaliation claim, which requires only that

the protected activity was a “motivating factor” in the employment decision. Manuel

v. Nalley, 966 F.3d 678, 680 (7th Cir. 2020). Once the plaintiff makes this showing,

“the burden shifts to the government employer to produce evidence that it would have

[taken the disputed action] even in the absence of the protected speech.” Kingman,

40 F.4th at 601. If the employer carries that burden, a plaintiff must “persuade the

factfinder that the defendant’s proffered reasons were pretextual.” Id. at 602.

      Wilson does not expressly identify her constitutionally protected speech or

explain the link between that activity and her termination. [Dkt. 82 at 16–17.] The

closest she comes is by saying that “the content of [her] speech involved exposing

corruption and mismanagement within the Village,” and that her complaints to the

FBI and State’s Attorney as well as her EEOC charge “were followed by her removal

from her position and eventual termination.” [Id.] She says that “the record clearly

shows that Wilson was subjected to adverse actions directly after engaging in
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protected speech,” in that she was treated differently than Beck-Fulgham, and that

her complaints “were followed by her removal from her position and eventual

termination.” [Id.]

       For the reasons already discussed, the timing of Wilson’s EEOC Complaint,

which is constitutionally protected speech, as compared to her termination in April

2022 did not “follow[] close on the heels of protected expression.” Kidwell, 679 F.3d at

966. Even assuming that Wilson could pinpoint complaints she made to law

enforcement exposing corruption and mismanagement within the Village, those

complaints are even further removed in time from her termination because they

occurred in December 2021 at the latest, further weakening any inference of

causation. [Dkt. 81 at ¶¶ 29–30.] And, as discussed, Wilson’s confrontation with

Coffee and the results of the internal investigation mean that no reasonable

factfinder could draw a suspicious inference about the timing of Wilson’s termination.

In short, there is insufficient evidence to create a dispute of material fact as to

causation under the First Amendment. Thus, the First Amendment retaliation claim

also fails.

       C.     Due Process Violations

       Both parties move for summary judgment on Wilson’s due process claims.

Count III alleges a § 1983 due process violation for Wilson’s removal as police chief.

Count IV alleges a § 1983 due process violation for Wilson’s termination as a police

officer. To establish a viable due process claim, Wilson must show that she was

deprived of a protected property interest. Tom Beu Xiong v. Fischer, 787 F.3d 389,

399 (7th Cir. 2015).
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                1.    Continued Employment as Police Chief

          To show a protected property interest in the public employment context,

Wilson must “show more than a unilateral expectation of a job on her part; she must

have had a legitimate claim of entitlement to it.” Bounds v. Country Club Hills Sch.

Dist. 160, 64 F.4th 926, 929 (7th Cir. 2023) (citing Bd. of Regents v. Roth, 408 U.S.

564, 577 (1972)). State law provides the source of the protected property interest. Id.

(citing Cromwell v. City of Momence, 713 F.3d 361, 363–64 (7th Cir. 2013)); Miyler v.

Vill. of E. Galesburg, 512 F.3d 896, 898 (7th Cir. 2008) (“property interests are created

and defined by an independent source, such as state law or a contract.”).

          “[P]rocedural guarantees do not establish a property interest protected under

the Fourteenth Amendment’s Due Process Clause.” Miyler, 512 F.3d at898. Rather,

to create a property interest, a statute or ordinance must provide “some substantive

criteria limiting the state’s discretion.” Id. A statute “which merely provides

procedures to be followed does not include a substantive right.” Id. (quoting Cain v.

Larson, 879 F.2d 1424, 1426 (7th Cir. 1989); Catinella v. Cnty. of Cook, Illinois, 881

F.3d 514, 518 (7th Cir. 2018) (“an employee manual or policy handbook that specifies

a set of pre-termination procedures does not create an enforceable property right to a

job.”).

          Wilson relies on 65 ILCS 5/10-2.1-17 as the foundation of her constitutionally

protected property right to continued employment as the police chief. [Dkt. 60 at 8-

9.] Under that provision, “no officer or member of the ... police department” may be

removed “except for cause.” 65 ILCS 5/10–2.1–17. If the employee to be removed is an



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appointed police chief, she can be removed by the “appointing authority” itself. Id.

Such a termination is complete once (1) the appointing authority files the reasons for

the removal with the “corporate authorities,” and (2) those authorities approve the

termination by a majority vote. Id.

        There is no dispute that the Act’s removal provisions applied to Wilson at the

time she was terminated, so the “question becomes whether 65 ILCS 5/10–2.1–17

limited the [village’s] right to terminate [Wilson] in any substantive way.” Burge v.

Rogers, 2015 WL 4692421, at *3 (N.D. Ill. Aug. 6, 2015). The Court agrees with

Defendants that they did not. Wilson could be terminated simply by the appointing

authority filing the reasons for removal with the “corporate authorities,” and those

authorities approving the termination by a majority vote. 65 ILCS 5/10–2.1–17.

Because these requirements did not limit the Village’s discretion in any substantive

way, Wilson had no constitutionally protected property right in continued

employment as police chief under this section. Miyler, 512 F.3d at 898–99. 6

        Nor is the Court persuaded by Wilson’s argument that her “long service and

Village practices implied an expectation of continued employment, necessitating due

process before termination.” [Dkt. 82 at 14.] Seventh Circuit caselaw squarely

forecloses the argument. Catinella, 881 F.3d at 518. And this case is wholly

distinguishable from Bradley v. Village of University Park, 59 F.4th 887 (7th Cir.



6      Wilson’s opening brief also cites to Section 3.1-35-10 of the Illinois Municipal Code as
another source of her constitutionally protected property right. [Dkt. 60 at 9.] Defendants
explain, and Wilson does not argue otherwise, that the Village operates as a managerial form
of government subject to Article 5 of the Illinois Municipal Code such that Section 3.1-35-10
does not apply. [Dkt. 72 at 4.]
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2023), on which Wilson alternatively relies. Unlike Bradley, Wilson never signed a

contract with the Village, so it is undisputed there was “no contract governing the

terms of her employment as Police Chief.” [Dkt. 81 at ¶ 7.] And in Bradley, the Village

conceded that Bradley had a property interest in his job for purposes of that case. 59

F.4th at 893. The Village makes no such concession here. 7

        Because there is no genuine question of fact concerning whether Wilson had a

legitimate claim of entitlement to continued employment as Chief, summary

judgment is granted on this claim.

              2.     Continued Employment as a Police Officer

        Wilson’s claim that she had a continued property interest in her employment

as a police officer fares no better. Her brief does not meaningfully engage with the

protected property interest caselaw, or otherwise explain why she is entitled to

summary judgment on this claim. [Dkt. 60.] The Court agrees that Wilson has failed

to establish a due process violation of any protected property interest in continued

employment as a police officer when she was terminated as chief. [Dkt. 72 at 5.]

        Defendants look to 65 ILCS 5/10-2.1-4 for the criteria required for a police chief

like Wilson to be considered “furloughed” from her prior police officer position such

that she could revert to her prior rank and receive her pension. [Dkt. 65 at 11–12.]

Section 10-2.1-4 states that “if a member of the department is appointed chief of police



7       Wilson has not brought a state law defamation claim, so the Court disregards her
newly raised argument that she was “defamed” and thus “denied a name-clearing hearing,
violating her due process rights,” a proposition for which she cites no authority. [Dkt. 82 at
14.] A plaintiff may not amend her complaint through a response brief. Pirelli Armstrong Tire
Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436, 448 (7th Cir. 2011).
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or chief of the fire department prior to being eligible to retire on pension, [she] shall

be considered as on furlough from the rank [she] held immediately prior to [her]

appointment as chief. If [she] resigns as chief or is discharged as chief prior to

attaining eligibility to retire on pension, [she] shall revert to and be established in

whatever rank [she] currently holds . . . and thereafter be entitled to all the benefits

and emoluments of that rank, without regard as to whether a vacancy then exists in

that rank.” Defendants also rely on Szewczyk v. Bd. of Fire & Police Comm’rs of Vill.

of Richmond, for the proposition that the right to a hearing before the Board of Fire

and Police Commissioners—“where the Village proves the charges and the chief is

given an opportunity to present a defense,”—is “among the benefits and emoluments

of [the police chief’s] previous rank of sergeant.” 953 N.E.2d 967, 978 (Ill. Ct. App.

2011). The Szewczyk court found the police chief had not reverted to the position of

sergeant “upon his discharge as police chief because he had attained eligibility to

retire on pension.” Id.

      The undisputed facts show that Wilson did not meet the criteria necessary to

revert to her police officer rank: Wilson was already eligible to retire on a pension at

the time she was appointed chief in March 2020. [Dkt. 81 at ¶¶ 1, 45,46.] As such,

she was not considered “as on furlough” from her prior police officer rank and could

not “revert” to her prior rank. Nor does she dispute the Village’s reliance on Szewczyk

concerning a right to a hearing before the Board of Fire and Police Commissioners.

Wilson has not established a continued property interest in her employment as a




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police officer, so summary judgment is appropriate in favor of the Village on this

claim. 8

        D.      Writ of Mandamus

        Although the Court grants summary judgment on Wilson’s federal claims, it

exercises its discretion to retain supplemental jurisdiction over her remaining state

law claims because discovery has already been completed and the pendent state

claims are straightforward. 28 U.S.C. § 1367(a); RWJ Mgmt. Co., Inc. v. BP Prods. N.

Am., Inc., 672 F.3d 476, 479–80 (7th Cir. 2012) (presumption that federal court will

relinquish remaining state claims is displaced when “substantial judicial resources

have already been committed” or “it is absolutely clear how the pendent claims can

be decided.”)

        Wilson seeks a writ of mandamus to compel the Village to restore her as police

chief because she was not properly removed or alternatively, “to compel the Village

to restore her to the rank of sergeant.” [Dkt. 20 ¶¶ 118, 119.] Defendants argue that

Wilson does not have a right to the relief she seeks through mandamus. [Dkt. 65 at

12–13.] The Court agrees.

        Under Illinois law, “[m]andamus is an extraordinary remedy,” and “[a] writ of

mandamus will be awarded only if the petitioner establishes a clear right to the relief

requested, a clear duty of the public official to act, and clear authority in the public



8       To succeed on a Monell claim seeking to hold the Village liable for constitutional
violations, a plaintiff must show the deprivation of a federal right. Helbachs Café LLC v. City
of Madison, 46 F.4th 525, 530 (7th Cir. 2022) (citing Monell v. Department of Social Services,
436 U.S. 658 (1978)). Wilson’s Monell claim cannot survive summary judgment in the absence
of an underlying violation of federal law.
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official to comply with the writ.” People ex rel. Alvarez v. Howard, 72 N.E.3d 346, 350

(Ill. 2016); Pate v. Wiseman, 143 N.E.3d 248, 255 (Ill. Ct. App. 2019). A writ of

mandamus “cannot be used to direct a public body to reach a particular decision or to

exercise its discretion in a particular manner.” Szewczyk v. Bd. of Fire & Police

Comm’rs of Vill. of Richmond, 885 N.E.2d 1106, 1111 (Ill. Ct. App. 2008) (quoting

Jamison v. City of Zion, 834 N.E.2d 499, 503 (Ill Ct. App. 2005)). In other words,

“mandamus is proper when one seeks to compel a public officer to perform duties

which are purely ministerial in nature and which require no exercise of judgment on

the part of the public officer.” Baldacchino v. Thompson, 682 N.E.2d 182, 188 (Ill. Ct.

App. 1997).

      Defendants cite to the Village’s municipal code, which provides that the Village

manager “may remove or discharge [the Police Chief], but only after having reported

the reasons for that action to the Village Board and having the Village Board confirm

the Manager’s decision.” [Dkt. 65 at 13, citing Codified Ordinances of University Park

§ 220-05.] Defendants maintain that Beck-Fulgham adhered to these requirements

“by providing the Trustees with a copy of the investigation report into Wilson and

issuing her recommendation that Wilson be given the option to retire or be

terminated.” [Id.]

      Wilson does not discuss these points in her briefs. Reinstating Wilson to any

prior position through a mandamus, as she seeks, would require more than a mere

ministerial task. It would amount to the Court directing “a public official or body to

reach a particular decision or to exercise its discretion in a particular manner, even



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if the judgment or discretion has been erroneously exercised.” Mabwa v. Mendoza, 19

N.E.3d 1252, 1257 (Ill. App. Ct. 2014) (quotations omitted); see also McFatridge v.

Madigan, 989 N.E.2d 165, 170 (Ill. 2013) (“A writ of mandamus is appropriate when

used to compel compliance with mandatory legal standards but not when the act in

question involves the exercise of a public officer’s discretion.”). Because Wilson has

not established a clear right to the requested relief, summary judgment is appropriate

on this claim.

        E.    Illinois Whistleblower Protection Act

        Defendants move for summary judgment on Count IX, Wilson’s Illinois

whistleblower claim. Under Section 15(b) of the IWA, an employer may not retaliate

against an employee for disclosing information to a government or law enforcement

agency, where the employee has reasonable cause to believe that the information

discloses a violation of a State or federal law, rule, or regulation. 740 ILCS 174/15(b)

(eff. Jan. 1, 2008.)9 To prevail, Wilson must show an adverse employment action by

the Village that was in retaliation for Wilson’s disclosure to a government or law

enforcement agency of a suspected violation of an Illinois or federal law, rule, or

regulation. Sweeney v. City of Decatur, 79 N.E.3d 184, 188 (Ill. App. 2017).

        The Village argues that Wilson did not reasonably believe that the information

she reported disclosed a violation of the law. [Dkt. 65 at 17.] In her Complaint, Wilson

alleges only that she “oppos[ed] Defendant’s unlawful conduct to the Will County



9      The quoted language comes from the version of the statute that was in effect when
Wilson was employed with the Village. Amended language took effect on January 1, 2025.
See 2024 Ill. Leg. Serv. 103-867 (H.B. 5561) (West).
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State’s Attorney’s Office, F.B.I., the EEOC, and the Illinois Department of Human

Rights. See 740 ILCS 174/15(b).” [Dkt. 20 at ¶ 160.] In her response brief, she

maintains that “the information she disclosed” concerned unlawful activities “such as

misuse of public funds and other irregularities.” [Dkt. 82 at 19.] According to Wilson,

her disclosures were “based on firsthand observations and detailed accounts of

suspicious activities, including the unexplained presence of [Golf Club] employees at

the Village Hall and improper handling of equipment and funds.” [Dkt. 82 at 19.]

      None of these statements identify what information Wilson disclosed

concerning a suspected violation of the law. In her Local Rule 56.1 statement of

additional facts, Wilson states only that “she communicated with the FBI and the

Will County State’s Attorney’s Office in late October or early November 2021 and

went again to the FBI about one week before the December 16, 2021 Golf Course

incident.” [Dkt. 87 at ¶ 16.] Even assuming that Wilson “believed something unlawful

was happening at the Golf Club,” and that she provided the State’s Attorney and the

FBI with Village Board meeting packets, board meeting videos and the Golf Club’s

management agreement, (see dkt. 81 at ¶¶ 28–30), these are not facts from which a

jury could conclude that Wilson reasonably believed she disclosed a suspected

violation of the law within the meaning of Section 15(b). Simply put, she has not

pointed to any statements she made or information she provided concerning a

suspected violation of the law. Summary judgment is the proverbial “put up or shut

up” moment in a lawsuit. Ellison v. United States Postal Serv., 84 F.4th 750, 759 (7th

Cir. 2023). At this stage, Wilson may no longer rest on her pleadings or her beliefs.



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She must point to specific evidence in the record to convince a jury and because she

has not done so, the Court grants summary judgment on this claim.

      F.     Replevin

      Count X seeks an order of replevin under Illinois law. In Illinois, “[w]henever

any goods or chattels have been wrongfully distrained, or otherwise wrongfully taken

or are wrongfully detained, an action of replevin may be brought for the recovery of

such goods or chattels, by the owner or person entitled to their possession.” 735 ILCS

5/19-101.

      To state a claim, a plaintiff must allege that (1) she is lawfully entitled to

possession of the property, (2) that the defendant is wrongfully detaining the

property, and (3) that defendant has refused to surrender possession of the property

to plaintiff. Signature Fin. LLC v. Auto Trans Grp. Inc., 2018 WL 1914557, at *3 (N.D.

Ill. Apr. 23, 2018) (citing Carroll v. Curry, 912 N.E.2d 272, 275 (Ill. Ct. App. 2009)).

If a plaintiff states a claim, the Court conducts a hearing to determine whether to

issue an order of replevin. Evergreen Marine Corp. v. Div. Sales, Inc., 2003 WL

1127905, at *5 n.4 (N.D. Ill. Mar. 12, 2003) (citing Harris Graphics Corp. v. F.C.L.

Graphics, Inc., 1987 WL 13433, at *1 (N.D. Ill. 1987)). If a plaintiff demonstrates a

prima facie case for possession and a probability of success on the merits, the Court

issues an order of replevin. Id. (citing 735 ILCS 5/9–107). If issued, a plaintiff can

post a bond and take possession of the property, or the defendant can post a bond and

retain possession. Id. (citing 735 ILCS 5/9–109, 112). “[T]he court then holds a trial

on the merits and enters a final judgment.” Id.



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      Wilson’s complaint identifies with specificity five categories of personal

property items she says were not returned to her. [Dkt. 20, ¶ 167.] Defendants

counter that Wilson has pointed to no evidence that the Village has unlawfully

retained or is otherwise in possession of this property. [Dkt. 86 at 13–14.] The Court

does not agree.

      Wilson’s Local Rule 56.1 statement of additional facts summarizes the personal

items he says were in her office and never returned to her. [Dkt. 87 at ¶ 25.] Wilson

alleges that she filed a police report, that her counsel sent an email to the Village

attorney about the missing items, and that the items remain unreturned. She also

cites to her sworn deposition testimony. Id. Because Defendants deny retaining her

property, Count X is not appropriate for resolution at the summary judgment stage.

Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003).

      The parties have now had the benefit of fact discovery, so the Court will hold a

hearing that provides Wilson the opportunity to make a prima facie showing on

replevin and that provides Defendants an opportunity to assert any defenses. The

motion for summary judgment is denied as to this claim.

      G.     Illinois Wage Protection Act

      Finally, Count XI is Wilson’s claim for violation of the Illinois Wage Payment

and Collection Act. To prove a claim under the Act, a plaintiff must prove that: “(1)

the defendant was an ‘employer’ as defined in the Wage Payment Act; (2) the parties

entered into an ‘employment contract or agreement’; and (3) the plaintiff was due

‘final compensation.’” Bradley, 59 F.4th at 903; 820 ILCS 115/2, 5. The Wage Payment

and Collection Act “requires only an ‘agreement,’ which the courts interpret more
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broadly than a contract. An agreement ‘requires only a manifestation of mutual

assent . . . without the formalities and accompanying legal protections of a contract.’”

Bradley, 59 F.4th at 903.

      Wilson alleges that “according to Village Ordinance,” in addition to her final

payout after her termination, she was entitled to receive severance payments,

including payments for accrued sick leave and floating holidays. [Dkt. 20 at ¶¶ 173–

176.] Defendants counter that Wilson received a final payout after her termination

and that the remaining payments she seeks are not permitted under the Act. [Dkt.

65 at 18–19.]

      Defendants rely on § 250-12 of the University Park Municipal Code:

      (a) If a full-time employee is terminated by the Manager during such
      time that the employee is willing and able to perform his or her duties
      as set forth in these Codified Ordinances, the Village shall pay that
      employee a lump sum cash payment in accordance with the following
      schedule: One (1) week aggregate salary for each year of service
      completed, up to a maximum of fifteen (15) weeks.

      (b) If an employee is terminated . . . for cause, the Village shall have no
      obligation to pay the severance pay designated in subsection (a) hereof.

[Dkt. 65 at 19.] Defendants point to Wilson’s termination letter to establish that,

under (b), Wilson was terminated for cause. [Id.; Dkt. 68.] Wilson disagrees, arguing

that because there “was no proper adjudication before a neutral body to establish ‘just

cause’ for [her] termination,” she is entitled to severance pay equal to four months of

her regular salary, together with floating holidays, sick time, and other accrued

benefits. [Dkt. 82 at 21; Dkt. 87, ¶ 37.]

      Wilson has not shown any entitlement to a “proper adjudication before a

neutral body to establish just cause for the termination.” Wilson’s brief says “proper

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adjudication” was required, but she has not identified any statutory or other

authority supporting her assertion that she could only be terminated in this way.

Indeed, her brief does not even identify the source of any “neutral body” requirement

or the basis for her use of the phrase “just cause” when the statute says, “for cause.”

      Simply put, Wilson’s naked assertion that the termination letter’s “stated

reasons do not meet the criteria for ‘just cause’ under the law” won’t do. The Court is

unaware of any evidence in the record that supports Wilson’s arguments, and if there

is any, Wilson certainly has not pointed to it. The Court must draw reasonable

inferences in Wilson’s favor, but “inferences that are supported by only speculation

or conjecture will not defeat a summary judgment motion.” Herzog v. Graphic Packing

Int’l, Inc., 742 F.3d 802, 806 (7th Cir. 2014). Nor may she “manufacture a genuine

issue of material fact by speculating about evidence not in the record.” Ellison, 84 F.

4th at 759.

      On this record, no reasonable jury could conclude that there was an agreement

entitling Wilson to additional severance or payment for floating holidays, sick time,

or other accrued benefits under § 250-12(a) given her “for cause” termination under §

250-12(b). Defendants are entitled to summary judgment on this count as well.




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V.       Conclusion

         Defendants’ motion for summary judgment is granted in part and denied in

part. 10 Wilson’s partial motion for summary judgment is denied in its entirety.

Enter: 22-cv-6020
Date: January 24, 2025



                                  __________________________________________
                                        Lindsay C. Jenkins
                                        United States District Judge




10    Because Wilson’s replevin claim survives summary judgment, so does her
indemnification claim.
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